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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

DISH NETWORK L.L.C, ECHOSTAR
TECHNOLOGIES L.L.C., and NAGRASTAR
LLC,

       Plaintiffs,                                           Civil No: 14-CV-1608 (JAF)

               v.

Edgardo Carrasquillo Reyes, a/k/a “Edgardo
Carrasquillo”, “Ed Reyes”, “Frank Reyes”,
“BluebirdPR” and “Bluebird” d/b/a Generation
IKS, www.caribbeansystems.galeon.com
and JOHN DOES 1-3,

       Defendant.


                                              JUDGMENT

       Having considered the Plaintiffs’ Motion for Default Judgment, the accompanying

documentation filed therewith and the other documentation incorporated therewith, and

having determined that a hearing on said motion is not necessary or required, the Court finds

that the Plaintiffs are entitled to a judgment as follows:

       1.      The Defendant has violated 17 U.S.C. § 1201(a)(2) and 47 U.S.C. § 605(e)(4).

       2.      The Defendant is liable for twenty (20) violations of 47 U.S.C. § 605(e)(4), as

further set forth in Count Four of the Plaintiffs’ Complaint, based upon the 20:

               a. Modifications or assemblies to an IKS server or servers with the decryption

                     control words from the 20 smartcards associated with the 20 EchoStar

                     receivers identified in the Plaintiffs’ motion for default judgment; and

               b. Distributions of the decryption control words from the 20 smartcards

                     associated with the 20 EchoStar receivers identified in the Plaintiffs’ motion

                     for default judgment.
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        3.        Statutory damages for the 20 violations of 47 U.S.C. § 605(e)(4) shall be assessed

at the minimum statutory violation amount of $10,000, per violation, pursuant to 47 U.S.C. §

605(e)(3) for a total assessment of statutory damages against the Defendant in the amount of

$200,000.

        4.        Post judgment interest shall accrue on the judgment pursuant to 26 U.S.C. 1961.

        5.        Pursuant to Section 1203(b)(2) of the DMCA and/or Title 47 U.S.C.§ 605(B)(i) of

the Communications Act, the Plaintiffs are granted permanent possession and ownership of

all items seized by the federal marshals through the civil seizure order which was entered in

this action.

        6.        All other counts and claims set forth in the Plaintiffs’ Complaint are dismissed

with prejudice.

        7.        This Court's prior orders of July 6, 2014, for an asset freeze and for an accounting

from the Defendant are hereby vacated.

        8.        Pursuant to Federal Rules of Civil Procedure Rule 65, Title 17 U.S.C. §

1203(b)(1) of the DMCA and/or 47 U.S.C. § 605(e)(3) of the Communications Act, a

permanent injunction shall enter against the Defendant; to wit. The Defendant, Edgardo

Carrasquillo Reyes, a/k/a “Edgardo Carrasquillo”, “Ed Reyes”, “Frank Reyes”, “BluebirdPR”

and “Bluebird” d/b/a Generation            IKS,    www.caribbeansystems.galeon.com (hereinafter

“Carrasquillo” or      the   “Defendant”) and his employees, agents, representatives, and all other

persons acting or claiming to act on his behalf or under his direction or authority, and all

persons acting in concert or in participation with Defendant are hereby ENJOINED from:

                  a. Manufacturing, importing, offering to the public, providing, modifying, or

                     otherwise trafficking in any IKS server pass-codes, or any other code,
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         password, or information used in accessing an IKS server, subscriptions to

         private IKS servers, unauthorized receivers for use in IKS piracy, control

         words utilized in IKS piracy, caches of control words utilized in IKS piracy

         and any DISH satellite pirating device regardless of form, including pirate

         software, or any other technology, product, service, device, component, or

         part thereof, that:

         1) is primarily designed or produced for the purpose of circumventing the

             encryption protection contained in the software on NagraStar’s smartcards

             or contained within EchoStar Technologies’ receivers or any other

             technological measure adopted by DISH and/or EchoStar Technologies

             and/or NagraStar that effectively controls access to copyrighted

             programming or effectively protects the exclusive rights afforded the

             owners of copyrighted programming;

         2) has only limited commercially significant purpose or use other than to

             circumvent DISH’s encryption access control protection or any other

             technological measure adopted by DISH and/or EchoStar Technologies

             and/or NagraStar that effectively controls access to copyrighted

             programming or effectively protects the exclusive rights afforded the

             owners of copyrighted programming;

         3) is knowingly marketed by Defendant and/or others acting in concert with

             him for use in circumventing DISH’s encryption access control protection

             or any other technological measure adopted by DISH and/or EchoStar

             Technologies and/or NagraStar that effectively controls access to
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             copyrighted programming or effectively protects the exclusive rights

             afforded the owners of copyrighted programming.

      b. Assembling,     modifying,    selling,   advertising,   marketing,    possessing,

         transporting, and/or distributing through any means any IKS server pass-

         codes, or any other code, password, or information used in accessing an IKS

         server, subscriptions to private IKS servers, unauthorized receivers for use in

         IKS piracy, control words utilized in IKS piracy, caches of control words

         utilized in IKS piracy or any other electronic, mechanical, or other devices,

         the design of which renders them primarily useful for the purpose of

         unauthorized interception of DISH’s signals.

      c. Creating any DISH subscriber accounts for improper purposes, installing and

         maintaining Plaintiffs’ receiving equipment at locations or facilities not

         authorized by Plaintiffs, operating any IKS server and distributing,

         retransmitting, and rebroadcasting Plaintiffs’ control words over the Internet.

      d. Operating or in any way assisting in the operation of any computer server

         containing control words which could or may be utilized for the unauthorized

         decryption of DISH’s satellite television signals.

      e. Operating the website www.caribbeansystems.galeon.com or any other

         website the Defendant may be operating related to satellite television;

         hereinafter referred to as the “Defendant’s satellite television websites”.

      f. Making the contents of the Defendant’s satellite television websites available

         to anyone other than the Plaintiffs on the internet.
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     g.   Operating any website which links to or advertises any third-party website

          which distributes any type of DISH piracy software or piracy devices,

          services, subscriptions or while advertising their sites on any pirate websites.

     h.   Engaging in any activity which would violate the terms of the injunctive relief

          set forth herein while utilizing websites not in the Defendant’s control,

          including, but not limited to, such websites as EBay and Craigslist.


 IT IS SO ORDERED.


                            _______________________________________
                                JOSE ANTONIO FUSTE
                                UNITED STATES DISTRICT JUDGE


                           Dated: __________________
                                   11/12/2014
